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 8                                    UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
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11    MONRELL DONOVAN MURPHY,                           No. 1:23-cv-00740-NODJ-BAM (PC)
12                       Plaintiff,                     ORDER ADOPTING FINDINGS AND
                                                        RECOMMENDATIONS REGARDING
13           v.                                         DISMISSAL OF CERTAIN CLAIMS
14    D. FLORES,                                        (ECF No. 12)
15                       Defendant.
16

17          Plaintiff Monrell Donovan Murphy is a state prisoner proceeding pro se and in forma

18   pauperis in this civil rights action pursuant to 42 U.S.C. § 1983. The matter was referred to a

19   United States Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

20          On July 7, 2023, the assigned Magistrate Judge screened Plaintiff’s complaint and found it

21   stated cognizable claims against Defendant D. Flores for excessive force in violation of the

22   Eighth Amendment and for retaliation in violation of the First Amendment, but failed to state any

23   other cognizable claims for relief. (ECF No. 6.) The Magistrate Judge ordered Plaintiff to either

24   file a first amended complaint or notify the Court of his willingness to proceed only on the

25   cognizable claims identified by the Court. (Id.)

26          On October 30, 2023, Plaintiff filed a notice to proceed on the cognizable claims

27   identified by the Court. (ECF No. 11.) Pursuant to Plaintiff’s notice, on October 31, 2023, the

28   Magistrate Judge issued findings and recommendations that this action proceed on Plaintiff’s
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 1   complaint against Defendant D. Flores for excessive force in violation of the Eighth Amendment
 2   and for retaliation in violation of the First Amendment. (ECF No. 12.) The Magistrate Judge
 3   further recommended all other claims be dismissed based on Plaintiff’s failure to state a claim
 4   upon which relief may be granted. (Id.)
 5          On November 8, 2023, in lieu of objections, Plaintiff filed a response clarifying that he
 6   has elected to proceed only on the claims for excessive force and retaliation. (ECF No. 13.) In
 7   his response, Plaintiff clarifies that he never intended to assert claims for equal protection or
 8   verbal harassment. (Id.)
 9          In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C), this Court has conducted a
10   de novo review of this case. Having reviewed the file, including Plaintiff’s response to the
11   findings and recommendations, the Court finds the findings and recommendations to be supported
12   by the record and by proper analysis.
13          Accordingly, IT IS HEREBY ORDERED as follows:
14          1. The findings and recommendations issued on October 31, 2023, (ECF No. 12), are
15              adopted in full;
16          2. This action shall proceed on Plaintiff’s complaint, filed May 12, 2023, (ECF No. 1),
17              against Defendant Flores for excessive force in violation of the Eighth Amendment
18              and for retaliation in violation of the First Amendment;
19          3. All other claims are dismissed from this action for failure to state claims upon which
20              relief may be granted; and
21          4. This action is referred back to the Magistrate Judge for proceedings consistent with
22              this order.
23   DATED: January 2, 2024.
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